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               13
                                                 UNITED STATES DISTRICT COURT
               14
                                                            DISTRICT OF NEVADA
               15

               16

               17       MARINA DISTRICT DEVELOPMENT
                        COMPANY, LLC d/b/a BORGATA
               18       HOTEL CASINO & SPA,
                        1 Borgata Way, Atlantic City, NJ 08401
               19
                                                                      CIVIL ACTION NO.: 2:20-cv-01592
               20                              Plaintiff,
                        v.
               21                                                     MOTION AND MEMORANDUM OF
                        AC OCEAN WALK, LLC d/b/a OCEAN                LAW IN SUPPORT OF PLAINTIFF’S
               22       CASINO RESORT,                                MOTION FOR A TEMPORARY
               23       500 Boardwalk, Atlantic City, NJ, 08401       RESTRAINING ORDER AND
                                                                      PRELIMINARY INJUNCTION
               24       WILLIAM CALLAHAN,
                        5554 West Ave, Ocean City, NJ, 08226
               25
                        KELLY ASHMAN BURKE,
               26

               27                              Defendants.

               28

JACKSON LEWIS P.C.
    LAS VEGAS
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 1                    MOTION FOR TEMPORARY RESTRAINING ORDER AND
                                PRELIMINARY INJUNCTION
 2
               Plaintiff Marina District Development Company, LLC d/b/a Borgata Hotel, Casino & Spa
 3
      requests that the Court enter a Temporary Restraining Order, attached hereto as Exhibit H,
 4
      enjoining Defendants AC Ocean Walk, LLC d/b/a Ocean Casino Resort (“Ocean”), William
 5
      Callahan (“Callahan”), and Kelly Ashman Burke (“Burke”) (collectively, “Defendants”) from
 6
      continuing to violate the Defend Trade Secrets Act and other contractual and statutory
 7
      obligations. This Motion is based on Borgata’s Verified Complaint, the following Memorandum
 8
      of Points and Authorities, the attached exhibits all pleadings and documents on file with the
 9
      Court, and any oral argument the Court deems proper.
10
      I.       INTRODUCTION
11
               The Defendants AC Ocean Walk, LLC d/b/a Ocean Casino Resort (“Ocean”), William
12
      Callahan (“Callahan”), and Kelly Ashman Burke (“Burke”) (collectively, “Defendants”) have
13
      commenced an unlawful scheme to permanently disrupt and irreparably harm Borgata’s casino
14
      operations.
15
              In June 2020, unbeknownst to Borgata, Ocean targeted and solicited Callahan and Burke –
16
               Borgata’s Vice President and Executive Director of Casino Marketing, respectively –
17             because of their access to and ability to misappropriate Borgata’s trade secrets, including
               client relationships with the high-level casino customers who are responsible for more
18             than $25 million dollars in revenue every year.

19            Ocean successfully enticed both Callahan and Burke to accept new positions at Ocean on
               or about July 22, 2020 – indeed, Callahan left Borgata only one year into a three-year
20
               contract that paid him approximately $370,000.00 annually, plus bonus – in violation of
21             employment agreements which prohibited them from competing against the Borgata for a
               period of one year after their employment.
22
              Ocean announced Callahan and Burke’s hiring in an August 13, 2020 press release, and
23             within weeks had hired four additional Borgata casino and hospitality executives,
24             essentially recreating the team of executives that Callahan had supervised at Borgata to
               service Borgata’s most important clientele.
25
               None of the foregoing facts are in dispute. For that reason, and as set forth in more detail
26
      below, Borgata contacted Ocean on August 20, 2020, demanding that Ocean: 1) cease employing
27
      Callahan and Burke in violation of their agreements with Borgata, (2) cease using Callahan,
28                                                      2
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 1    Burke to solicit Borgata employees, (3) cease and desist misappropriating Borgata’s trade secrets

 2    and other confidential and proprietary information, (4) cease and desist contacting Borgata’s

 3    customers, (5) cease and desist its coordinated conspiracy to tortiously interfere with Borgata’s

 4    contractual and other business relationships, and (6) provide immediate assurances that its efforts

 5    to discontinue such acts was genuine and verifiable.

 6           The risk of misappropriation is real and concrete. Callahan and Burke, as well as the other

 7    Borgata executives they solicited on Ocean’s behalf, have intrinsic knowledge of Borgata’s

 8    marketing strategies, customer loyalty databases, and the Company’s most important customers’

 9    preferences and needs. Callahan in particular has unique and confidential knowledge of the

10    things that matter most: the terms of credit that Borgata has been able to offer, the discounts on

11    losses that Borgata has offered, the game rules that Borgata has and has not been willing to

12    change in order to entice high-limit gamblers to play at the Borgata, and the historical knowledge

13    of these players hotel, amenity and food and beverage preferences that induced them to return to

14    Borgata time after time. Burke’s understanding and knowledge of Borgata’s customer databases,

15    the way that data can be used to drive business, and other strategic initiatives is equally

16    confidential and proprietary. Put another way, Callahan and Burke know exactly which trade

17    secrets have importance and can be exploited in order to give Ocean a competitive advantage
      when soliciting casino customers to leave Borgata and patronize Ocean.
18
             Of equal importance to this application for injunctive relief is Callahan’s continued
19
      misappropriation of his Borgata-issued smartphone.         The phone was Callahan’s lifeline to
20
      customers when he worked at Borgata. It has lists of players and text message conversations
21
      containing specific knowledge about each player and his or her preferences. Borgata demanded
22
      that the phone be returned, including specific requests on August 24 and 25, 2020. Callahan has
23
      refused, and while he has now provided it to his counsel at Blank Rome, Callahan continues to
24
      refuse to return the phone despite Borgata’s offer to allow the phone to be delivered directly to the
25
      well-respected forensic experts at HOLO Discovery to allow for an immediate forensic copy and
26
      to make the information available to Ocean via discovery requests. Borgata has also offered to
27
      direct HOLO to screen out any privileged communications. Ocean’s apparent insistence that it be
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 1    allowed to make a forensic image of a phone filled with trade secrets, a phone which has been

 2    misappropriated in the first place, is less than meritless. It is a declaration of intent to commit a

 3    violation of the Defend Trade Secrets Act and applicable trade secrets laws. On its own, Ocean’s

 4    refusal to return the phone warrants immediate injunctive relief.

 5           Borgata has attempted to resolve this dispute informally. As noted above, it sent a cease

 6    and desist letter on August 20, 2020, and its counsel has been in constant contact with Ocean’s

 7    counsel since August 24, 2020. Ocean has refused to provide assurances that it will discontinue

 8    employing individuals in violation of their noncompetition agreements and has refused to provide

 9    assurances that it is not misappropriating trade secrets. Indeed, it has offered no real defense or

10    justification for its conduct. It has not contended that the customer knowledge Callahan and

11    Burke have misappropriated does not constitute a trade secret. It has offered no explanation for

12    Burke’s obvious violation of her non-competition agreement nor has it defended its decision to

13    continue to employ her in a position virtually identical to the position she had at Borgata. It has

14    not thus far defended Borgata’s allegation that Burke has solicited other Borgata employees.

15           Ocean’s only explanation for Callahan’s conduct – that he is employed as a hotel

16    executive and not as a casino marketing executive and he therefore is not violating his non-

17    competition covenant – is a disingenuous, transparent coverup. Callahan began planning his
      departure in June 2020 when he received correspondence from Ocean’s primary investor, Michael
18
      Conboy at Luxor Capital. The timing of Callahan’s resignation from Borgata and hiring by
19
      Ocean coincided with the departure of Ocean’s prior Vice President of Relationship Marketing on
20
      July 22, 2020. The press release that Ocean issued on August 13, 2020, announcing Callahan’s
21
      retention focused on Callahan’s efforts to enhance guest experiences, not his operational acuity.
22
      And, finally, Callahan did not supervise hotel operations in any way for the 18 years he worked at
23
      Borgata. He has not supervised housekeeping. He has not supervised front services. He has not
24
      supervised a bell and valet department.       He has not supervised the environmental services
25
      employees who provide janitorial services throughout the hotel’s public areas. In short, while
26
      Callahan is an experienced and desirable casino marketing executive, there is no serious,
27
      experience-based justification for Ocean’s decision to hire him as a Senior Vice President to run a
28                                                     4
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 1    1,400 room hotel operation in the middle of a pandemic that creates a host of unprecedented

 2    sanitation challenges for hotel operations. The simple and obvious explanation is that Callahan

 3    has been given a misleading job title to avoid the restrictions of his non-compete agreement.

 4           Borgata has done everything possible to resolve this matter without court intervention.

 5    But Oceans’ refusal to voluntarily do whatever is necessary to end and prevent further

 6    misappropriation of Borgata trade secrets, including return of Callahan’s mobile phone, makes

 7    this application for injunctive relief necessary. Ocean will not cease employing Callahan and

 8    Burke in violation of their non-competition agreements. It will not provide assurances that it will

 9    cease misappropriation of trade secrets. It will not return Callahan’s misappropriated phone, a per

10    se violation of the Defend Trade Secrets Act. A temporary restraining order that stops Ocean’s

11    misconduct and which protects Borgata’s trade secrets from further abuse is required. Improper

12    use of trade secrets constitutes irreparable harm. ADP, LLC v. Trueira, No. 18-3666 (KM)

13    (CLW), 2019 U.S. Dist. LEXIS 181537, at *62 (D.N.J. Oct. 18, 2019) (citing U.S. Food Serv.,

14    Inc. v. Raad, 2006 WL 1029653, at *6 (A.J. Super. Ch. Div. Apr. 12, 2006) at *7 ("Damages will

15    not be an adequate remedy when the competitor has obtained the secrets. The cat is out of the bag

16    and there is no way of knowing to what extent their use has caused damage or loss.")).

17    II.    FACTUAL BACKGROUND

18           Borgata incorporates herein by reference the facts and allegations set forth more

19    completely in its Verified Complaint and Request for Injunctive Relief. See Dkt. No. 1.

20           A. Ocean Has Hired William Callahan In Violation Of His Employment Agreement
                With Borgata, And Through Callahan Is Misappropriating Borgata’s Trade
21              Secrets And Other Confidential And Proprietary Information And Soliciting
                Borgata Employees In Violation Of Callahan’s Non-Solicitation Agreement.
22
             Borgata is hotel, casino, and spa located in Atlantic City, New Jersey.            Defendant
23
      Callahan worked for Borgata in its casino marketing department for approximately eighteen
24
      years. Compl. ¶¶ 13-33. Using Borgata’s resources and backing, Callahan established and grew
25
      relationships with the Company’s most important casino clients, including MLife “Noir” guests
26
      who, taken together, generate over $25 million in revenue for Borgata each year. Id. Callahan’s
27
      final position was Vice President of Relationship Marketing. In that position, he reported directly
28                                                     5
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 1    to Borgata’s president, Melonie Johnson. Id. He earned several hundreds of thousands of dollars

 2    plus bonus each year.1 At the time of his resignation on July 11, 2020, Callahan’s employment

 3    with Borgata was contractual, with the “Specified Term” of employment from March 20, 2019

 4    through March 19, 2022. See Callahan Employment Agreement attached hereto as Exhibit “A”.

 5           Callahan’s job duties included developing relationships with Borgata’s potential and

 6    existing clients, securing relationships with existing clients, and acting as a high-level liaison for

 7    Borgata’s high level casino clientele and large corporate patrons. Id. Callahan has detailed

 8    personal and professional knowledge of Borgata’s high level and corporate clientele as a result of

 9    his job duties for Borgata. He was responsible for the overall guest experience, and most

10    significantly, Callahan was aware of and the relationship manager for the most important

11    decisions that Borgata made regarding these customers. Id. He did not direct credit decisions, but

12    was aware of the players’ credit limits, and the decisions that Borgata made in that regard. If

13    players were unhappy with credit decisions, they would appeal to him. Id.

14           Callahan was involved in discussions regarding top players’ other principal requests: game

15    changes. In some situations, high value customers will request game modifications that could

16    affect game play and an individual player’s odds of success. Borgata would negotiate those rule

17    changes with players, and Callahan was aware of and involved in that process. By virtue of his

18    involvement, he was aware of that changes that players desired and the changes that, if refused,

19    might lead players to take their business elsewhere. Id.

20           Callahan communicated with these customers with a smartphone provided by Borgata for

21    work purposes. Id. This phone contains the personal cell phone numbers and other contact

22    information for these players and patrons. Anyone in possession of this smartphone is in actual

23    possession of Borgata’s highest-tier player and patron list and the means to communicate with

24    them directly. This type of information is highly sensitive information in the gaming industry and

25    is the exact type of information that could be used by Borgata’s competitors to sway high level

26
      1
        To protect the secrecy of this amount, Plaintiff has redacted Callahan and Burke’s Employment
27    Agreements. The specific amounts and unredacted versions will be made available to the Court
      for review.
28                                                      6
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 1    and corporate clientele to patronize their hotels and casinos, instead of Borgata. The contents of

 2    Borgata’s smartphone, assigned to and provided to Callahan and still in his possession, constitute

 3    highly sensitive Borgata trade secrets. Id.

 4           Callahan’s possession and use of the phone and the Company’s e-mail and other systems

 5    was subject to four different policies: 1) the Computer Use Policy, 2) the Mobile/Cellular Device

 6    Policy; 3) the Computer/Acceptable Use Policy; and 4) the Code of Conduct.             Exhibit B.

 7    Collectively, those policies forbid Callahan from misusing or misappropriating data from the

 8    phone, apprized him that his use of the phone was subject to monitoring, that he had no

 9    expectation of privacy, and that he was obligated to protect the information on the phone from

10    disclosure to others.

11           Upon his resignation, Callahan did not return the smartphone. In fact, Callahan’s former

12    executive assistant, Colleen Hermann, contacted Callahan on Friday, July 17, 2020 to insist that

13    Callahan return the phone. See Johnson Decl., attached as Exhibit C and Hermann Decl., attached

14    as Exhibit D. Callahan informed Hermann that he would bring the phone on Monday, July 20,

15    2020. Id. He did not do so, however, and he (through his counsel) is still in possession of the

16    smartphone and all of the communications and player and patron phone numbers inside it, and all

17    of the players’ and patrons’ particular needs and requests overseen and handled by Callahan.

18           Even without the smartphone itself, Callahan has personal and intrinsic knowledge of the

19    particular wants and needs, permissions sought, accommodation preferences, schedules, gaming

20    habits, credit requirements, comp requirements, and staffing preferences for Borgata’s highest

21    level players and top patrons.     Id. Due to Callahan’s high-level position with Borgata and

22    inevitable obtainment and development of detailed personal and professional knowledge of

23    Borgata’s most valuable clientele, his Employment Agreement contained restrictive covenants,

24    including non-solicitation, confidentiality, and non-competition provisions. In the Employment

25    Agreement, Callahan specifically acknowledges that he would obtain sensitive information rising

26    to the level of “Confidential Information” in the performance of his job functions:

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      See Exhibit “A”, ¶ 8.
 7

 8           Callahan’s Employment Agreement also contains a non-competition provision:
 9

10

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18
      See Exhibit “A”, ¶ 8.1.
19
             The Employment Agreement defines the Restrictive Period as “the twelve (12) month
20
      period immediately following any separation of employee from active employment for any reason
21
      occurring during the Specified Term or the twelve (12) month period immediately following the
22
      expiration of the Specific Term.” See Exhibit “A”, p. 16. Callahan specifically agreed not to work
23
      for Borgata’s competitors as follows (in relevant part):
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 6    See Exhibit “A”, p. 14.

 7           On or about July 21, 2020, Callahan became an employee of Ocean. Compl. ¶¶ 39-53.

 8    Ocean is indisputably a direct competitor to Borgata in the casino, gaming, hotel, and spa

 9    industry. Despite having a different job title, Borgata is informed and believes that Callahan

10    performs some, if not all of the same job functions for Ocean that he performed as Vice President

11    of Relationship Marketing for Borgata, including collaborating with Burke, O’Connor, Burch, and

12    Herschel and others to provide services to top level casino customers. Similarly, Borgata believes

13    that Callahan is also involved in the “direct[ion]” of those same activities. Id.   Other evidence

14    also supports this belief. Callahan began negotiating with Ocean in at least June 2020, and at

15    those negotiations appeared to include discussions about structuring his job title to create the

16    impression that his job did not violate the employment agreement. Moreover, Ocean’s Vice

17    President of Relationship Marketing left Ocean almost simultaneously with Callahan’s hiring.

18    Although Callahan’s title at Ocean is SVP of Hotel Operations, he lacks relevant experience for

19    that position, at least over the last 18 years. And finally, Ocean’s delay and refusal to return

20    Callahan’s Borgata phone is evidence of its intent to deprive Borgata of the information it needs

21    to fully investigate Callahan’s conduct. Id.

22           Callahan’s violation of the Employment Agreement is not limited to a violation of the

23    restriction on competition, however. The agreement also contains a confidentiality provision:

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 5    See Exhibit “A”, ¶ 8.3.

 6           Upon information and belief, Callahan has used, and inevitably will use, the contents of

 7    Borgata’s smartphone and/or his intrinsic knowledge of Borgata’s confidential information and

 8    trade secrets in the performance of his job functions for Ocean. Indeed, it is for this specific

 9    reason that Ocean hired Callahan. In a “Ocean Casino Resort – Leadership Announcement”,

10    Ocean states that [Callahan] will utilize his 20+ year of casino/hotel experience to partner with

11    our hotel and facilities teams to drive continual improvement and enhanced guest experiences.

12    [Callahan] will also oversee tenant relations…During his 17 years at Borgata, [Callahan] honed

13    his skills in marketing operations, relationship management, revenue management, property

14    development projects and programs to enhance the guest experience.” See Ocean Casino Resort –

15    Leadership Announcement attached hereto as Exhibit “E”.

16           Since Callahan’s departure from Borgata and beginning of employment with Ocean, five

17    (5) more Borgata’s employees have left Borgata and become employees of Ocean. These

18    employees formerly worked closely with Callahan as a cohesive unit at Borgata and collectively

19    made up a large portion of Borgata’s casino marketing and hotel executives. Id.

20           Upon information and belief, Callahan is responsible for soliciting these individuals to

21    work for Ocean. Id. By raiding Borgata’s casino marketing and hotel executives in a concerted

22    and rapid fashion, Ocean and Callahan have intentionally has sought to disrupt Borgata’s casino

23    operations and secure a critical mass of Borgata executives who are all familiar with the same

24    confidential information and trade secrets of Borgata. Callahan, at the instruction of Ocean, has

25    deliberately targeted and hired these Borgata casino marketing and hotel executives for the

26    purpose of having them use their collective knowledge of Borgata’s confidential information and

27    trade secrets to unlawfully compete with Borgata. Id.

28                                                   10
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 1           Finally, the Employment Agreement contains a non-solicitation provision.            In that

 2    provision, Callahan agreed that “at all times during Employee’s employment with [Borgata], and

 3    for 12 months thereafter, Employee will not, without the prior written consent of [Borgata]:”

 4

 5

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 8

 9    See Exhibit “A”, ¶ 8.2(c).

10           Callahan’s solicitation and “poaching” of Borgata’s employees is a direct violation of the

11    Employment Agreement’s non-solicitation provision. Ocean has tortiously interfered with the

12    Employment Agreement by inducing and/or facilitating Callahan to do so.

13           B. Ocean Has Hired Kelly Burke In Violation Of Her Employment Agreement With
                Borgata, And Through Burke Is Misappropriating Borgata’s Trade Secrets And
14              Other Confidential And Proprietary Information And Soliciting Borgata
                Employees In Violation Of Burke’s Non-Solicitation Agreement.
15

16           Like Callahan, Ocean has also solicited Kelly Ashman Burke. Ocean hired Burke with the

17    job title of “Senior Vice President – Chief Marketing Officer”. See Exhibit “E”. Based on the

18    press release announcing her hire, Burke’s position is, in form and function, the same job she

19    performed while employed by Borgata. Compl. ¶¶ 54-70.

20           Burke’s job title at Borgata was “Executive Director of Marketing”. Burke’s employment

21    with Borgata was contractual, with the “Specified Term” of employment from July 19, 2017

22    through July 18, 2020. See Burke Employment Agreement attached hereto as Exhibit “F”. Burke

23    received considerable consideration for agreeing to the terms, provisions, and covenants therein in

24    the form of an annual salary well over $100,000.00. As Executive Director of Marketing, Burke

25    was responsible for marketing strategy, including the use of customer loyalty databases and other

26    information to contact customers and drive business. Id.

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28                                                    11
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 1           Burke’s Employment Agreement contained restrictive covenants, including non-

 2    solicitation, confidentiality, and non-competition provisions.      Id. The restrictive covenant

 3    provisions of Burke’s Employment Agreement and Callahan’s Employment Agreement are

 4    identical. Id. By accepting employment at Ocean as the Senior Vice President of Marketing, she

 5    is in direct violation of the non-competition provisions of her Employment Agreement. Moreover,

 6    given her job duties, she will inevitably disclose Borgata’s confidential information to Ocean and

 7    use those strategies and information to compete with Borgata. Id.

 8           Burke, like Callahan, has also violated the no-solicitation provisions of her agreements.

 9    As set forth in the verified Complaint, Borgata is informed that Burke was personally involved in

10    soliciting Herschel, O’Connor, Ebner, and Burch despite being aware that these former Borgata

11    employees were still bound by New Jersey, federal, and common law from maliciously disclosing

12    their actual and intrinsic knowledge of Borgata’s confidential information and trade secrets. She,

13    like Callahan, did so in an effort to recreate the team of executives that have successfully run

14    Borgata’s marketing and relationship marketing operations for several years.

15           C. Borgata Has Attempted To Resolve The Dispute With Ocean, Callahan And
                Burke Without Filing Suit, But Those Efforts Have Failed. Defendants Have
16              Refused To Comply With Their Agreements and Refused to Return Borgata
                Property. In Doing So, Ocean Has Precluded Borgata’s Investigation And
17              Confirmed Its Plan To Misappropriate Borgata’s Customers And Trade Secrets.
18
             On August 20, 2020, the undersigned counsel for Borgata sent a cease and desist letter to
19
      Ocean’s Senior Vice President and General Counsel, demanding that Ocean cease and desist from
20
      continuing to employ Callahan, Burke, and the other former Borgata employees named herein, as
21
      well as to cease and desist misappropriating Borgata’s trade secrets and other confidential and
22
      proprietary information. Trimmer Decl., attached as Exhibit G. To date, Ocean has not complied
23
      with Borgata’s demand to cease and desist its unlawful conduct.2 To the contrary, Ocean has not
24
      addressed Borgata’s position in writing. Through counsel it has contended that Callahan’s job
25
      2
26             Callahan has also taken the position that Borgata agreed to gift the phone to him. As set
      forth n the attached declarations from Melonie Johnson and Coleen Hermann, that claim is false.
27    Ms. Hermann demanded that the phone be returned during a conversation on July 17, 2020, and at
      least at that time, Callahan said he would return it the following Monday, July 20, 2020.
28                                                    12
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 1    title and responsibilities do not include casino marketing, and therefore he is not in violation of

 2    his employment agreement.        Ocean has not responded to Borgata’s concerns about Burke,

 3    Herschel, O’Connor, Ebner and Burch.

 4           Ocean also has refused to return Callahan’s phone. Through counsel, it has asserted

 5    (without authority or specificity) that the return of the phone could reveal privileged

 6    communications Callahan had with counsel regarding his plans to leave Borgata, and therefore

 7    Ocean must create a forensic image of the phone before returning it. When Borgata offered to

 8    have the phone delivered to its third-party forensic examiner and requested that Callahan provide

 9    a privilege log so that privileged communications could be screened, Ocean did not respond.

10           To be clear, Ocean’s refusal to return Callahan’s phone is critically and unjustifiably

11    interfering with Borgata’s attempts to investigate Callahan’s conduct. On information and belief,

12    Callahan and Ocean exchanged communications, terms of employment and other information in

13    June 2020, and it appears that the parties devised a sham employment structure to create the

14    impression that he was not violating his non-competition obligations. Ocean’s refusal to provide

15    the phone deprives Borgata of the opportunity to investigate that claim and hampers its ability to

16    provide additional evidence in support of this application for injunctive relief. Indeed, as set forth

17    in the attached policies, Callahan had no expectation of privacy in his phone or his use of Borgata

18    email. The assertion that any communication on the phone is privileged is not supported by law.

19    Trimmer Decl.

20    III.   LEGAL ARGUMENT

21           A.       Legal Standards

22           Borgata has brought both federal and state law claims against Defendants. The standard

23    for injunctive relief under those claims is similar and set forth below.

24                           1. Standard for Injunctive Relief Under The DTSA

25           In general, expedited equitable relief is available when the moving party can show: (1)

26 that it is likely to succeed on the merits; (2) that it is likely to suffer irreparable harm in the

27 absence of preliminary relief; (3) that the balance of equities tips in its favor, and; (4) that an

28                                                      13
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 1 injunction is in the public interest. Alliance for The Wild Rockies v. Pena, 865 F.3d 1211, 1217

 2 (9th Cir. 2017); Fernandez v. State of Nevada, 2011 U.S. Dist. LEXIS 6103 at *2-3 (D. Nev Jan.

 3 15, 2011) (citing Fed.R.Civ.P. 65). The Defend Trade Secrets Act modifies the traditional test

 4 slightly because, in Section 1836(b)(2), it sets forth specific statutory criteria that entitle a moving

 5 party to injunctive relief. That section provides that injunctive relief in the form of civil seizure

 6 may issue if the moving party’s claims are 1) based on an affidavit or verified complaint; and (2)

 7 when an order providing for the seizure of property is necessary to prevent the propagation or

 8 dissemination of trade secrets subject to the action. To that end, the DTSA further provides that a

 9 seizure order is appropriate if (1) a traditional injunction pursuant to Fed.R.Civ.P. 65 would

10 provide inadequate relief because the party to which the order would issue would evade, avoid, or

11 otherwise not comply with such an order; (2) immediate and irreparable injury will occur if seizure

12 is not ordered; (3) the harm to the applicant of denying the application outweighs the harm to the

13 legitimate interest of the person against whom seizure would be ordered; (4) the information in

14 question is a trade secret that has been misappropriated or subject to a conspiracy to

15 misappropriate the trade secret by improper means; (5) the person against whom seizure would be

16 ordered has actual possession of the trade secret; (6) the application describes with reasonable

17 particularity the matter to be seized and, to the extent reasonable, the location; (7) the person

18 against whom seizure would be ordered would destroy, move, hide, or otherwise make such matter

19 inaccessible to the court if the applicant were to proceed on notice, and; (8) the applicant has not
20 publicized the requested seizure. 18 U.S.C. § 1836(b)(2)(a)(ii).

21                          2. Injunctive Relief Under Borgata’s New Jersey Claims

22           The Employment Agreements for Callahan and Burke contain the following provision:

23

24

25

26

27
      See Exhibit “A”; Exhibit “F”, ¶ 16.
28                                                     14
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 1            New Jersey law therefore applies to this case, and Borgata can meet its burden of proving

 2    each element required under New Jersey law for obtaining an injunction. See Crowe v. De Gioia,
 3    90 N.J. 126, 447 A.2d 173 (1983) and N.J. R. 4. It is well established that interlocutory injunctive
 4
      relief is appropriate where: (1) there is a threat of immediate and irreparable harm to the plaintiff
 5
      if the injunction is not granted; (2) plaintiff's legal right underlying the claim is settled as a matter
 6
      of law and the Plaintiff demonstrates a reasonable probability of eventual success on the merits,
 7

 8    and; (3) in balancing the equities, the damages to the plaintiff in the absence of the injunction

 9    outweigh the foreseeable harm to the defendant. Crowe, 90 N.J. at 132-134; Zoning Board of

10    Adjustment v. Service Electric Cable TV., 198 N.J. Super. 370, 379 (App. Div. 1985).
11
      B.      Success on the Merits and Irreparable Harm
12
              Irreparable harm to Borgata is certain.         Ocean, Callahan, and Burke are already in
13
      possession of Borgata’s trade secrets, including Callahan’s phone which functions as a
14
      comprehensive customer list of Borgata’s highest-level patrons, as well as a repository of
15

16    Borgata’s marketing and business strategies. The nature of this action, based on disclosure of

17    confidential information and trade secrets in violation of restrictive covenants, is presumed to
18    cause irreparable if disclosure of trade secrets occurred due to inducement to breach a duty of
19
      secrecy. Because Borgata is also likely to show that Callahan and Burke have breached their
20
      employment agreements, the Court should issue a temporary restraining order.
21
                              1.      Defend Trade Secrets Act
22

23            The Defendant Trade Secrets Act (“DTSA”)3 creates a private right of action for the

24    misappropriation of trade secrets. 18 U.S.C. § 1831, et seq. The DTSA permits the owner of a

25    trade secret to bring a private cause of action in federal court for trade secret misappropriation. 18
26

27    3
        The New Jersey Trade Secrets Act, N.J.S.A. § 56:15-1 et seq. is virtually identical to the DTSA
      in all relevant regards.
28                                                       15
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 1    U.S.C. § 1836(b)(1). “Trade secret” is broadly defined to include “all forms and types of

 2    financial, business, scientific, technical, economic, or engineering information,” if the owner “has
 3    taken reasonable measures to keep such information secret” and “the information derives
 4
      independent economic value, actual or potential, from not being generally known to, and not
 5
      being readily ascertainable through proper means by, another person who can obtain economic
 6
      value from the disclosure or use of the information.” 18 U.S.C. § 1839(3).
 7

 8           Under the DTSA, “misappropriation” is defined in several different ways. It includes the

 9    “acquisition of a trade secret of another by a person who knows or has reason to know that the

10    trade secret was acquired by improper means” constitutes a misappropriation. 18 U.S.C. §
11
      1839(5)(A). A misappropriation also occurs when one “disclos[es]” or “use[s]” another’s trade
12
      secret without the consent of the trade-secret owner. 18 U.S.C. § 1839(5)(B). “Improper means”
13
      also includes theft, and breach or inducement of a breach of a duty to maintain secrecy. 18 U.S.C.
14
      § 1839(6).
15

16           It is well settled that a customer list, sales and marketing techniques, personal sensitive

17    customer information, customer goodwill, future business prospects, and customer relationship
18    information are trade secrets. Frantz v. Johnson, 116 Nev. 455, 466, 999 P.2d 351, 358 (2000) (a
19
      customer list can be a trade secret when extremely confidential and where the list was secret and
20
      guarded, where the list was missing after an employee had access to the list which went missing
21
      after the employee left his employment, then provided customers with “more competitive
22

23    pricing”); IDS Life Ins. O. v. SunAmerica, 136 F.3d 537, 543 (7th Cir. 1998) (irreparable injury

24    presumed for loss of customer goodwill, future business, customer relationships, business

25    reputation and trade secrets).
26           Borgata took reasonable measures to maintain the secrecy of trade secrets on the
27
      smartphone it issued to Callahan, as well as the intrinsic knowledge of trade secrets known by
28                                                     16
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 1    Callahan, Burke, Ted Herschel, Christopher O’Connor, Stephen Ebner, Ryan Burch. First,

 2    Borgata provided the smartphone to Callahan so that Borgata’s trade secrets were not kept and
 3    stored on a personal smartphone owned by Callahan. Second, Borgata requested that Callahan
 4
      return the smartphone when he ended his employment. Third, due to creating customer lists,
 5
      customer information, customer good will, implementing and creating new marketing techniques,
 6
      and business prospects, Callahan and Burke were bound by the non-competition, confidentiality,
 7

 8    and non-solicitation provisions in their Employment Agreements. Borgata contractually bound

 9    Callahan and Burke in such a manner that prohibited them from disclosing Borgata’s trade

10    secrets, using them while employed by a competing casino, or soliciting Borgata’s employees or
11
      customers.
12
             Due to the personal nature of the relationships Callahan and Burke developed with patrons
13
      on behalf of Borgata, there is no plausible way a competitor, such as Ocean, could readily
14
      ascertain Borgata’s particular marketing strategy in regard to its highest level patrons without
15

16    Callahan and Burke disclosing that information to Ocean. Or, in this case, simply hiring Callahan

17    who has a smartphone with the proverbial “keys to the kingdom” saved in it.
18           It is undeniable that misappropriation has occurred in several ways prohibited by the
19
      DTSA. Borgata’s smartphone issued to Callahan was simply taken by Callahan without Borgata’s
20
      permission. It is, in essence, a stolen item that neither Callahan nor Ocean have any right to
21
      possess, retain, or use. Theft or conversion is acquisition of a trade secret by improper means. 18
22

23    U.S.C. § 1839(6). Misappropriation by improper means also includes “breach or inducement of a

24    breach of a duty to maintain secrecy.” Id. Here, Callahan and Burke both retain intrinsic

25    knowledge of Borgata’s trade secrets even without possession of Callahan’s smartphone. Ocean’s
26    employment of them in positions in which they perform the same job functions that they
27
      previously performed for Borgata induces Callahan and Burke to use their knowledge of
28                                                    17
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 1    Borgata’s trade secrets. Finally, both Callahan and Burke have contractual duties to maintain

 2    secrecy, as set forth in their Employment Agreements. Ocean’s hiring of Callahan and Burke
 3    caused them to breach the non-competition, confidentiality, and non-solicitation provisions of
 4
      their Employment Agreements – inducement and actual breach of their duty to maintain secrecy.
 5
             Callahan and Burke’s breach of their Employment Agreements, and Ocean’s tortious
 6
      interference with those obligations, demonstrate that all three Defendants have engaged in
 7

 8    misappropriation of trade secrets by improper means. If Callahan and Burke breached their

 9    Employment Agreements with Borgata due to Ocean’s tortious interference, there is a

10    presumption of irreparable harm.
11
                            2.      Breach of Contract
12
             New Jersey law has long recognized the enforceability of restrictive covenants such as
13
      those contained in Callahan and Burke’s Employment Agreements. See, e.g., Heuer v. Rubin, 1
14
      N.J. 251, 62 A.2d 812 (1949). To be enforceable, a restrictive covenant “must protect a legitimate
15

16    interest of the employer; it may impose no undue hardship on the employee; and it must be in the

17    public's interest.” Coskey's Television & Radio Sales and Servs., Inc. v. Foti, 253 N.J. Super. 626,
18    634, 602 A.2d 789, 793 (App. Div. 1992) (citing Solari Indus., Inc. v. Malady, 55 N.J. 571, 576
19
      (1970)). In addition, a restrictive covenant must be “limited in its application concerning its
20
      geographical area, its period of enforceability, and its scope of activity.” Id. Under these
21
      guidelines, the restrictive covenants contained in the Employment Agreements are enforceable.
22

23           The restrictive covenants at issue in the Employment Agreements protect Borgata’s

24    legitimate interest in maintaining the confidentiality of its non-public business information and

25    protecting its relationships with its customers. “New Jersey law is plain that employers have ‘a
26    legitimate interest in preventing the disclosure of confidential information as well as protecting
27
      customer relationships.” Chemetall US, Inc. v. Laflamme, 2016 WL 885309, *9 (D. N.J. 2016).
28                                                     18
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 1    See also, HR Staffing Consultants LLC v. Butts, 627 Fed. Appx. 168, 172 (3d Cir. 2015) (applying

 2    NJ law and holding that protecting relationships with customers and confidential information are
 3    legitimate interests to uphold a non-compete); Cmty. Hosp. Grp., Inc. v. More, 869 A.2d 884, 897
 4
      (N.J. 2005) (legitimate interests include “protecting confidential business information and
 5
      customer lists); Ingersoll-Rand Co. v. Ciavatta, 542 A.2d 879, 892 (N.J. 1988) (employers have a
 6
      legitimate interest “in protecting trade secrets, confidential information, and customer relations,”
 7

 8    and they may also “have legitimate interests in protective information that is not a trade secret or

 9    proprietary information,” such as “highly specialized, current information not generally known in

10    in the industry, created and stimulated by the research environment furnished by the employer to
11
      which [an] employee has been 'exposed' or 'enriched' solely due to his employment.”).
12
             “An employee must show more than mere ‘personal hardship’ for the court to find an
13
      undue hardship would exist if a particular non-competition restriction is enforced.” National
14
      Reprographics, Inc. v. Strom, et al., 621 F.Supp.2d 204, 228 (D.N.J. 2009). In determining the
15

16    existence of an undue hardship, a court should consider the reason for the termination of the

17    employment agreement between the parties. Id. “Where the breach results from the desire of an
18    employee to end his relationship with the employer rather than from any wrongdoing on the part
19
      of the employer, a court should be hesitant to find undue hardship [on the employee].” Id. Here,
20
      both Callahan and Burke unilaterally ended their employment with Borgata.
21
             In New Jersey, restrictive covenants running for a period of two (2) years following the
22

23    end of employment have been found to be enforceable. See Mailman, Ross, Toyes & Shapiro v.

24    Edison, 183 N.J. Super 434 (Ch. Div. 1982) (holding a covenant for a term of two years is

25    reasonable); Trico Equip., Inc. v. Manor, 2009 WL 1687391, at *7 (D.N.J. June 15, 2009) (“Here,
26    both the non-compete and non-solicitation provisions apply for a two year period after
27
      employment, a period that New Jersey courts have found to be reasonable.”) (collecting cases). In
28                                                     19
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 1    this matter, Callahan and Burke were only enjoined from employment with competing casinos for

 2    a period of one (1) year.
 3           Finally, the geographic scope for non-competition within Callahan and Burke’s
 4
      Employment Agreement is objectively reasonable as it is tailored specifically to prohibit Callahan
 5
      and Burke from joining competing casinos. Even if this Court were to find the geographic scope
 6
      to be overbroad, New Jersey has evolved from invalidating overbroad restrictive covenants
 7

 8    outright to presumptively “compress[ing] or reduc[ing]” their scope “so as to render the covenants

 9    reasonable.” Karlin v. Weinberg, 390 A.2d 1161, 1168 n.4 (N.J. 1978); see Maw v. Advanced

10    Clinical Commc’ns, Inc., 846 A.2d 604, 608-09 (N.J. 2004). In this matter, Callahan and Burke
11
      joined Ocean, a direct competitor to Borgata, that is located 1.5 miles from Borgata in the same
12
      city. The Employment Agreements specifically prohibit employment with other casinos in
13
      Atlantic City. Under the actual factual circumstances of this matter, the geographic scope with the
14
      Employment Agreements is reasonable.
15

16           In summary, Callahan and Burke are in breach of the non-competition, confidentiality, and

17    non-solicitation provisions of the Employment Agreements. Because Callahan has willfully
18    refused to turn over his phone, thereby shielding his misconduct, the Court should presume that
19
      the phone contains affirmative evidence that he has violated his contractual and statutory
20
      obligations, and should impute those acts to his new employer, Ocean.
21
                             3.     Tortious Interference
22
             A claim of tortious interference is established by the following elements: (1) plaintiff had
23

24    a reasonable expectation of an economic advantage; (2) defendants’ actions were malicious in the

25    sense that the harm was inflicted intentionally and without justification or excuse; (3) there is a
26    reasonable probability that plaintiff would have obtained the anticipated economic benefit but for
27
      the interference, and; (4) economic damage has resulted. See Printing Mart-Morristown v. Sharp
28                                                    20
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 1    Elec. Corp., 116 N.J. 739, 751-52 (1989); Well v. Express Container Corp., 360 N.J. Super. 599,

 2    613-14 (App. Div. 2003), cert. den., 177 N.J. 574 (2003); C & J Colonial Realty, Inc. v.
 3    Poughkeepsie Savings Bank, 355 N.J. Super. 444, 478 (App. Div. 2002), cert. den., 176 N.J. 73
 4
      (2003).
 5
                Borgata had a reasonable expectation that Callahan and Burke were going to abide by the
 6
      restrictive covenants in their Employment Agreements, as Borgata provided them generous
 7

 8    annual salaries in consideration for their agreement to do so. Ocean’s act in soliciting and hiring

 9    Callahan and Burke in violation of the Employment Agreements was deliberate and malicious –

10    Ocean’s only plausible reason for hiring Callahan and Burke would be to make use of their
11
      intrinsic knowledge of Borgata’s confidential information and trade secrets. Without Ocean’s
12
      interference, Borgata reasonably anticipated it would receive the benefit of its bargain with
13
      Callahan and Burke. If Ocean had simply not hired them, neither Callahan nor Burke would be in
14
      violation of the Employment Agreements. Actual damages have resulted from the tortious
15

16    interference and breach as Borgata provided ample consideration to Callahan and Burke for their

17    agreement to abide by the restrictive covenants. Future damages will continue to accrue as
18    Callahan and Burke make use of their knowledge of Borgata’s confidential information and trade
19
      secrets to directly compete for business that would otherwise flow to Borgata.
20
                Further, Callahan and Burke have induced Ted Herschel, Christopher O’Connor, Stephen
21
      Ebner, Ryan Burch to leave Borgata. Borgata had a reasonable expectation that Callahan and
22
      Burke would abide by the non-competition and non-solicitation provisions in their Employment
23

24    Agreements. In using Callahan and Burke to recruit Borgata’s marketing and casino executives in

25    violation of their Employment Agreements, Ocean has perpetrated a deliberate malicious act to
26    harm Borgata and irreparably harm its ability to compete.
27

28                                                     21
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 1                         4.      Irreparable Harm

 2           There is a presumption of irreparable harm in a plurality of courts under these
 3    circumstances. Irreparable harm is presumed in situations where a confidentiality agreement or
 4
      restrictive covenant has been breached or trade secrets have been misappropriated. Gallagher
 5
      Benefits Servs., Inc. v. De La Torre, No. C 07-5495 VRW, 2007 WL 4106821, at *5 (N.D. Cal.
 6
      Nov. 16, 2007) (“In general, the imminent use of a trade secret constitutes irreparable harm.”);
 7

 8    aff'd in relevant part, 283 F. App’x 543 (9th Cir. 2008); LifeCell Corp. v. Tela Bio, Inc., 2015

 9    N.J. Super. Unpub. LEXIS 1608, at *85 (Sup. Ct. Ch. Div.) (“In the context of non-competition

10    agreements, irreparable injury may be shown if the former employee may avail himself of
11
      sensitive product strategies both as to development and marketing, which may be of extreme
12
      value to the competitor.”) (citing Scholastic Funding Grp., LLC v. Kimble, 2007 U.S. Dist.
13
      LEXIS 30333, *20 (D.N.J. April 24, 2007)); Western Directories, Inc. v. Golden Guide
14
      Directories, Inc., No. C 09-1625 CW, 2009 WL 1625945, *6 (N.D. Cal. June 8, 2009) (“The
15

16    Court presumes that Plaintiff will suffer irreparable harm if its proprietary information is

17    misappropriated.”); Vinyl Interactive, LLC v. Guarino, No. C 09-0987 CW, 2009 WL 1228695, at
18    *8 (N.D. Cal. May 1, 2009) (same); Teleflora, LLC v. Florists’ Transworld Delivery, Inc., No. C
19
      03-05858 JW, 2004 WL 1844847, at *6 (N.D. Cal. Aug. 18, 2004) (“Use or disclosure of trade
20
      secrets is an irreparable harm which will support the granting of a preliminary injunction.”);
21
      Advanced Instructional Sys., Inc. v. Competentum USA, Ltd., No. 1:15CV858, 2015 WL 7575925,
22

23    at *4 (M.D. N.C. Nov. 25, 2015) (“In most instances, courts presume irreparable harm when a

24    trade secret has been misappropriated.”); Pixon Imaging, Inc. v. Empower Techs. Corp., No. 11-

25    CV-1093-JM MDD, 2011 WL 3739529, at *6 (S.D. Cal. Aug. 24, 2011) (“[A]n intention to make
26    imminent or continued use of a trade secret or to disclose it to a competitor will almost always
27
      show irreparable harm.”); EchoMail, Inc. v. American Exr. Co., 378 F. Supp. 2d 1, 4 (D. Mass.
28                                                    22
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 1    2005); FMC Corp v. Taiwan Tainan Giant Indus. Co., Ltd., 730 F.2d 61, 63 (2nd Cir. 1984)

 2    (trade secrets, once lost, is lost forever; its loss cannot be measured in money damages); Ivy Mar
 3    Co. v. C.R. Seasons, Ltd., 907 F. Supp. 547, 566 (E.D. N.Y. 1995); Computer Assoc., Inc. v.
 4
      Bryan, 784 F. Supp. 982, 986 (E.D. N.Y. 1992); Refractory Technology, Inc. v. Koski, 1990 WL
 5
      119560, at *3 (N.D. Ill., Aug. 13, 1990) (loss of trade secret would cause plaintiff immediate,
 6
      irreparable harm); ISC-Bunker Ramo Corp. v. Altech, Inc., 765 F. Supp. 1310, 1338 (N.D. Ill.
 7

 8    1990) (“it is often difficult to …. Determine the monetary damages suffered thereby”); CPG

 9    Prod. Corp. v. Mergo Corp., 214 U.S.P.Q. 206, 2145 (S.D. Ohio 1981) (the threat of disclosure,

10    destruction, or dilution of trade secret constitutes irreparable injury justifying injunctive relief);
11
      Donald McElroy, Inc. v. Delany, 72 Ill. App. 3d 285, 294-95, 389 N.E.2d 1300, 1308 (1st Dist.
12
      1979) (“Once a protectable interest has been established, injury to plaintiff will presumably
13
      follow if that interest is not protected…threat of irreparable harm sufficient where former
14
      employee violated the terms of a non-disclosure agreement and was about to use confidential
15

16    information against the plaintiff, irreparable injury was shown and preliminary injunction was

17    properly granted).
18            Loss of goodwill, destruction of trade secrets, loss of client confidentiality and
19
      competitive disadvantage constitute irreparable harm for which no adequate remedy at law exists.
20
      IDS Life Ins. O. v. SunAmerica, 136 F.3d 537, 543 (7th Cir. 1998) (irreparable injury presumed
21
      for loss of customer goodwill, future business, customer relationships, business reputation and
22

23    trade secrets).

24    C.      Public Interest and Balance of Equities

25            It is well settled that there is a legitimate public interest in enforcement of contracts and
26    preventing tortious interference with them, and employment contracts that contain restrictive
27
      covenant provisions in particular. “The public has a clear interest in safeguarding fair commercial
28                                                      23
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 1    practices and in protecting employers from theft or piracy of trade secrets, confidential

 2    information, or, more generally, knowledge and technique in which [the] employer may be said to
 3    have a proprietary interest…the public has a great interest in upholding and enforcing freely
 4
      negotiated contracts entered into between employers and their employees.” National
 5
      Reprographics, Inc. v. Strom, et al., 621 F.Supp.2d 204, 228 (D.N.J. 2009). Additionally, the
 6
      public interest as it relates to this action is clearly enshrined by statute in the Defend Trade
 7

 8    Secrets Act, which specifically permits the use of civil proceedings for injunctive relief and even

 9    ex parte injunctive relief. 18 U.S.C. § 1836(b).

10           Borgata has shown that the balance of the equities tips in its direction. Prof’l Beauty
11
      Fed’n. of Cal. v. Newsom, No. 2:20-cv-04275-RGK-AS, 2020 U.S. Dist. LEXIS 102019, at *24-
12
      25 (C.D. Cal. June 8, 2020). Borgata’s Complaint and this motion establish that Ocean has
13
      conducted a wholesale raid on Borgata’s marketing and casino executives. In doing so, Ocean has
14
      tortiously interfered with the Employment Agreement of Callahan and Burke, and further induced
15

16    Callahan and Burke to violate their Employment Agreements by soliciting additional Borgata

17    employees with intrinsic knowledge of Borgata’s trade secrets. In addition, Callahan, by and for
18    the benefit of Ocean, retains Borgata’s smartphone issued to him in the performance of his job
19
      functions for Borgata.
20
             It is self-evident that Borgata will be harmed by Callahan continuing to possess, retain,
21
      and use Borgata’s smartphone for the benefit of Ocean. Neither Ocean nor Callahan will suffer
22

23    any cognizable harm by simply being ordered to immediately return the smartphone to Borgata.

24           An order for Callahan and Burke to cease their employment with Ocean is not unjust.

25    They specifically agreed not to work for, in relevant part, competing casinos in Atlantic City.
26    They suffer no cognizable harm by being ordered to comply with contractual obligations in the
27
      Employment Agreements to which they already willingly agreed to be bound. And, an order for
28                                                       24
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 1    Ocean to discontinue employing Callahan and Burke will not result in any harm to Ocean. Indeed,

 2    it is Borgata that has been harmed by Ocean’s conduct in tortiously interfering with Callahan and
 3    Burke’s Employment Agreements with Borgata. Ocean was well-aware of Employment
 4
      Agreements prior to hiring Callahan and Burke and could not reasonably expect that its illegal
 5
      conduct would be permitted to continue by this Court. The sole reason for their employment is to
 6
      advance Ocean’s use and misappropriation of Borgata’s trade secrets and their continued
 7

 8    employment is presumed to cause Borgata irreparable harm.

 9    IV.    CONCLUSION

10           For each and all of the reasons stated above, Borgata respectfully requests that the Court

11    grant its Motion for a Temporary Restraining Order and Preliminary Injunction in the form of the
12
      enclosed proposed order.
13
             DATED this 27th day of August, 2020.
14
                                                          JACKSON LEWIS P.C.
15

16                                                        /s/ Paul T. Trimmer
                                                          PAUL T. TRIMMER
17                                                        Nevada Bar No. 9291
                                                          300 S. Fourth Street, Ste. 900
18                                                        Las Vegas, Nevada 89101
19
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24                                                        Attorneys for Plaintiff
                                                          Marina District Development
25                                                        Company, LLC d/b/a Borgata Hotel Casino
                                                          & Spa
26

27

28                                                   25
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                     1                                     CERTIFICATE OF SERVICE

                     2             I HEREBY CERTIFY that I am an employee of Jackson Lewis P.C., and that on this 27th
                           day of August, 2020, I caused to be served via the Court's CM/ECF Filing, a true and correct copy
                     3     of the foregoing MOTION FOR TEMPORARY RESTRAINING ORDER properly addressed
                     4     to the following:

                     5     Leigh Ann Buziak
                           BLANKROME
                     6     One Logan Square
                           130 North 18th Street
                     7     Philadelphia, PA 19103
                     8     lbuziak@blankrome.com

                     9     Attorneys for Defendants

                     10
                     11                                                              /s/ Paul T. Trimmer
                                                                               Employee of Jackson Lewis P.C.
                     12
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Jackson Lewis P.C.
                                                                          26
    Las Vegas
